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                    Exhibit A
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Professional Fees By Professional

   Professional           Title          Hours        Hourly Rate        Fees
Ted Burr              Principal              759.10   $    295.00    $   223,934.50
Dave Tiffany          Director               422.20   $    250.00    $   105,550.00
Doug Noblitt          Director               132.40   $    250.00    $    33,100.00
Josephine Giordano    Director                21.60   $    250.00    $     5,400.00
No Charge Time                                10.50                  $          -
                                           1,345.80                  $   367,984.50

Average Rate / Hour                $         273.43

Total Expenses                                                       $      8,241.05

Total Due                                                            $    376,225.55


Less Payments Received:            November                          $     16,832.25
                                   February                          $    170,441.69
                                   March                             $     65,738.87
                                                                     $    253,012.81

Unpaid Balance                                                       $    123,212.74
